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                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTER~ DISTRICT OF PENNSYLVANIA
                                                                                   6019
NICHOLAS RAP AK, individually and on              1Case No. - - - - -
behalf of himself and all other persons similarly
situated,                                         1 CLASS ACTION COMPLAINT

                               Plaintiff,
                                                        JURY TRIAL DEMANDED
               vs.

WAWA, INC.,
                                      Defendant.
                                                    I
                                                   _J
       Plaintiff, Nicholas Rapak ("Plaintiff'), by and through his undersigned counsel, brings

this Class Action Complaint against Defendant Wawa, Inc. ("Defendant" or "Wawa"),

individually and on behalf of all others similarly situated, and alleges as follows, upon personal

knowledge as to himself and his own acts and experiences, and as to all other matters, upon

information and belief.

                                            INTRODUCTION

       1.      Plaintiff brings this class action complaint on behalf of a class of persons harmed

as a result of Defendant's failure to safeguard and protect its customers' highly sensitive

personally identifiable information ("PII") including, but not limited to: credit and debit card

numbers, expiration dates, and names on payment cards used on Wawa's in-store payment

terminals and fuel dispensers.

       2.      On December 19, 2019, Wawa issued a press release 1 on its website stating that

it experienced a "data security incident" (the "Data Breach"). Wawa stated that it discovered


1
 An Open Letter from Wawa CEO Chris Gheysens to Our Customers, available at
https://www.wawa.com/alerts/data-security (Dec. 19, 2019).
"



    malware (the "Mal ware") on its payment processing servers on December 10, 2019. This

    Malware affected customers "at potentially all Wawa locations" at some point between March

    4, 20 I 9 and December I 2, 2019 (the "Class Period"). The Mal ware was present on most store

    systems by April 22, 2019.

           3.      The Malware affected payment card information, including credit and debit

    card numbers, expiration dates, and cardholder names on payment cards used at potentially all

    Wawa in-store payment terminals and fuel dispensers beginning at different points in time

    after March 4, 2019.

           4.      Because Plaintiffs PII has been compromised as a result of the Data Breach,

    Plaintiff and Class Members have been placed at an immediate and continuing risk of identity

    theft-related harm.

           5.      As a result of Wawa' s conduct, Plaintiff and Class Members will be required to

    undertake expensive and time-consuming efforts to mitigate the actual and potential impact of

    the Data Breach on their lives by, among other things, placing "freezes" and "alerts" with

    credit reporting agencies, contacting their financial institutions, closing or modifying financial

    accounts, and closely reviewing and monitoring their credit reports and accounts for

    unauthorized activity.

           6.      Furthermore, Plaintiff and Class Members will be required to purchase credit

    and identity monitoring services to alert them to potential misappropriation of their identity

    and to combat risk of further identity theft. At a minimum, Plaintiff and Class Members have

    suffered compensable damages because they will be forced to incur the cost of a monitoring

    service which is a reasonable and necessary step to prevent and mitigate future loss.




                                                      2
                                        THE PARTIES

       7.      Plaintiff Nicholas Rapak is a resident of Montgomery County, Pennsylvania.

PlaintiffRapak made purchases using Wawa's in-store payment terminals and/or fuel

dispensers at numerous Wawa locations between March 2019 and December 2019 with his

debit and/or credit card. As such, Plaintiffs PII was stored on Wawa's payment processing

servers, and he was affected by the undisclosed Mal ware.

       8.      Plaintiff Rapak became aware of the Data Breach through news reports on or

about December 19, 2019.

       9.      Plaintiff has taken precautions to protect his PII. Exposure of Plaintiffs PII as

a result of the Data Breach has placed him at immediate and continuing risk of further identity

theft-related harm.

        10.    Defendant Wawa, Inc. ("Wawa") is a privately held domestic New Jersey

corporation having its principal executive offices located at 260 W. Baltimore Pike, Wawa,

Pennsylvania 19063.

       11.     Wawa owns and operates more than 850 convenience retail stores (over 600

offering gasoline), in Pennsylvania, New Jersey, Delaware, Maryland, Virginia, Florida, and

Washington, D.C. Wawa services over 800 million customers annually according to 2018 data

from the National Association of Convenience Stores. 2

                                JURISDICTION AND VENUE

        12.    This Court has jurisdiction over this action pursuant to the Class Action Fairness

Act ("CAFA"), 28 U.S.C. § l 332(d), because the aggregate amount in controversy exceeds

$5,000,000, exclusive of interests and costs, there are more than 100 Class Members, and at least


2
 NACS, https://www.convenience.org/Media/Daily/ND0523 l 83 _Behind-the-Scenes-at-
Wawa __ Operations (May 23, 2018).
                                                 3
one class member is a citizen of a state different from the Defendant. The Court also has

supplemental jurisdiction over the state law claims pursuant to 28 U.S.C. § 1367.

        13.    This Court has personal jurisdiction over Defendant as Wawa maintains its

principal executive offices in Wawa, Pennsylvania, is registered to conduct business in

Pennsylvania, regularly conducts business in Pennsylvania, and has sufficient minimum contacts

in Pennsylvania. Defendant intentionally avails itself of this jurisdiction by conducting its

corporate operations here and promoting, selling, and marketing Wawa's services to resident

Pennsylvania consumers and entities.

        14.     Venue is proper in this Distnct under 28 U.S.C. § 139l(b) because Defendant's

principal place of business is in this District and a substantial part of the events, acts, and

omissions giving rise to the claims of the Plaintiff occurred in this District.

                                  FACTUAL ALLEGATIONS

    A. Wawa's Data Breach

        15.     On December 19, 2019, Wawa announced a companywide Data Breach "at

potentially all Wawa locations," which includes over 850 convenience retail stores and gas

stations in seven states. Wawa discovered Malware on its payment processing servers that

affected customer payment card information beginning at different points in time after March

4, 2019 until it was contained on December 12, 2019.

        16.     At different points in time after March 4, 2019, Malware began running on in-

store payment processing systems at potentially all Wawa locations. The Malware was

present on most store systems by approximately April 22, 2019.

        17.     The Mal ware affected Plaintiffs and Class '.\1embers' PII, by exposing their

credit and debit card numbers, expiration dates, and names on payment cards used at

potentially all Wawa in-store payment terminals and fuel dispensers.

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     B. The Data Breach Caused Harm to Plaintiff and Class Members

         I 8.   PU such as affected credit and debit card numbers, expiration dates, and

cardholder names is highly coveted data and a frequent target of hackers.

         I 9.   Despite well-publicized litigation and frequent public announcements of data

breaches, especially in the retail sector, Wawa maintained an insufficient and inadequate

system to protect Plaintiffs and Class Members' PII.

         20.    Payment card data such as credit or debit card information is highly valuable to

hackers. Identity thieves use this stolen PII for a variety of financial fraud related crimes.

Credit and debit card information that is stolen from the point of sale is known as "dumps."

Credit and debit card dumps can then be sold in the cybercrime underground. This

information can also be used to fraudulently clone a debit or credit card.

         2 I.   Wawa failed to implement and maintain reasonable security procedures and

practices appropriate to protect Plaintiffs and Class Members' PII.

         22.    Federal and State governments have likewise established security standards and

issued recommendations to temper data breaches and the resulting harm to consumers and

financial institutions. The Federal Trade Commission ("FTC") has issued numerous guides for

business highlighting the importance of reasonable data security practices, including

PROTECTING PERSONAL INFORMATION: A GCIDE FOR BUSINESS. 3

         23.    Under the FTC guidelines, businesses should protect the personal customer

information that they keep; properly dispose of personal information that is no longer needed;

encrypt information stored on computer networks; understand their network's vulnerabilities;



3
    FEDERAL TRADE COMMISSION, PROTECTING PERSONAL ll'<FORMATIOl'<: A Gt:IDE FOR BUSINESS
(Oct. 2016), available at https://www.ftc.gov/tips-advice/business-center/guidance/protecting-
personal-information-guide-business.
                                                  5
and implement policies to correct security problems. The guidelines also recommend that

businesses use an intrusion detection system to expose a breach as soon as it occurs; monitor all

incoming traffic for activity indicating someone is attempting to hack the system; watch for large

amounts of data being transmitted from the system; and have a response plan ready in the event

of a breach.

       24.     The FTC recommends that companies not maintain cardholder information longer

than is needed for authorization of a transaction; limit access to sensitive data; require complex

passwords to be used on networks; use industry-tested methods for security; monitor for

suspicious activity on the network; and verify that third-party service providers have

implemented reasonable security measures.

       25.     The FTC has brought enforcement actions against businesses for failing to

adequately and reasonably protect customer data, treating the failure to employ reasonable and

appropriate measures to protect against unauthorized access to confidential consumer data as an

unfair act or practice prohibited by Section 5 of the Federal Trade Commission Act ("FTC Act"),

15 U.S.C. § 45 (2006). Wawa's failure to employ reasonable and appropriate measures to protect

against unauthorized access to confidential consumer data constitutes an unfair act or practice

prohibited by Sect10n 5 of the FTC Act, 15 U.S.C. § 45.

       26.     Here, Wawa was at all times fully aware of its obligation to protect the personal

and financial data of its customers because of its participation in the storage of PII, storage of

payment card data, and interactions with payment card processing networks.

       27.     Wawa was also aware of the significant repercussions if it failed to do so because

Wawa collected payment card data from tens of thousands of customers daily and they knew that

this data, if hacked, would result in injury to consumers, including Plaintiff and Class Members.



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              28.     Despite understanding the consequences of inadequate data security, Wawa failed

      to take appropriate protective measures to protect and secure customers' PII, including Plaintiff

      and Class Members.

              29.     Despite understanding the consequences of inadequate data security, Wawa failed

      to take other measures necessary to protect its data network.

              30.     In the case of a data breach, merely reimbursing a consumer for a financial loss

      due to fraud does not make that individual whole again. On the contrary, after conducting a

      study, the Department of Justice's Bureau of Justice Statistics ("BJS") found that "among

      victims who had personal information used for fraudulent purposes, 29% spent a month or more

      resolving problems."4

             31.     A victim whose PII has been stolen and compromised may not see the full extent

      of identity theft or fraud until years after the initial breach. It may take some time for the victim

      to become aware of the theft. In addition, a victim may not become aware of charges when they

      are nominal, as typical fraud-prevention algorithms may not capture such charges. Those charges

      may be repeated, over and over again, on a victim's account.

             32.     According to the BJS, an estimated 16.6 million people were victims of one or

      more incidents of identity theft in 2012. Among identity theft victims, existing bank or credit

      card accounts were the most common types of misused information. 5

             33.     Without detailed disclosure to Wawa's customers, Plaintiff and Class Members

      were unknowingly and unwittingly left exposed to continued misuse and ongoing risk of

      misuse of their PII for months without being able to take necessary precautions to prevent



      4
        See Erika Harrell, Ph.D. and Lynn Langton, Ph.D., Victims of Identity Theft, 2012, U.S.
      Department of Justice, Bureau of Justice Statistics (Dec. 2013 ), at 1.
      s Id.
                                                        7
imminent harm.

       34.     As a result of the Data Breach, Plaintiff and Class Members now face years of

constant surveillance of their financial and personal records, monitoring, and loss of rights.

       35.     Plaintiff and Class Members are also subject to a higher risk of phishing where

hackers exploit information they already obtained to get even more PU. Plaintiff and Class

Members are presently incurring and will continue to incur such damages in addition to any

fraudulent credit and debit card charges incurred by them and the resulting loss of use of their

credit and access to funds, whether or not such charges are ultimately reimbursed by the bank

or credit card companies

       36.     The exposure of Plaintiffs and Class Members' PII to Mal ware was a direct

and proximate result of Wawa's failure to properly safeguard and protect Plaintiffs and Class

Members' PII from unauthorized access, use, and disclosure. Wawa failed to establish and

implement appropriate administrative, technical, and physical safeguards to ensure the

security and confidentiality of Plaintiffs and Class Members' PII in order to protect such PII

against reasonably foreseeable threats to the security of such information.

       37.     Plaintiffs and Class Members' PII is private and sensitive in nature and was

inadequately protected by Wawa.

       38.     As one of the mid-Atlantic's leading convenience store and gas station chains

with over 850 locations, Wawa had the sophisticated financial and technical resources to

prevent such a Malware breach. However, Wawa has neglected to adequately invest in data

security, despite the growing number of data intrusions and several years of well-publicized

retail industry data breaches.

       39.     Had Wawa remedied the deficiencies in its information storage and security



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systems, followed industry guidelines, and adopted measures recommended by the FTC and

experts in the field, Wawa would have prevented intrusion into its payment storage and

security systems and, ultimately, the theft of Plaintiffs and Class Members' confidential PII.

        40.    As a direct and proximate result ofWawa's wrongful actions and inaction,

Plaintiff and Class Members have been placed at an immediate and continuing risk of harm

from identity theft and identity fraud, requiring them to take the time and effort to mitigate the

actual and potential impact of the Wawa Data Breach on their lives by, among other things,

placing "freezes" and "alerts" with credit reporting agencies, contacting their financial

institutions, closing or modifying financial accounts, and closely reviewing and monitoring

their credit reports and accounts for unauthorized activity.

        41.    Wawa's wrongful actions and inaction directly and proximately caused the

theft and dissemination into the public domain of Plaintiffs and Class Members' PII, causing

them to suffer, and continue to suffer, economic damages and other actual harm for which

they are entitled to compensation, including:

   a. The improper disclosure, compromising and theft of their PII;

   b. Unauthorized charges on their debit and credit card accounts;

   c. The imminent and impending injury flowing from potential fraud and identity theft posed
      by their PII being placed in the hands of unauthorized parties and misused via the sale of
      Plaintiffs and Class Members' PII on the internet black market and dark web;

   d. The untimely and inadequate notification of the Data Breach;

   e. Loss of privacy;

   f.   Ascertainable losses in the form of out-of-pocket expenses and the value of their time
        reasonably incurred to remedy or mitigate the effects of the Data Breach;

   g. Ascertainable losses in the form of deprivation of the value of their PII, for which there is
      a well-established national and international market;



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    h. Loss of use of, and access to, their account funds and costs associated with the inability to
       obtain money from their accounts or being limited in the amount of money they were
       permitted to obtain from their accounts, including missed payments on bills and loans,
       late charges and fees, and adverse effects on their credit including adverse credit
       notations; and

    I.   The loss of productivity and value of their time spent to address, attempt to ameliorate,
         mitigate, and deal with the actual and future consequences of the Data Breach, including
         finding fraudulent charges, cancelling and reissuing cards, purchasing credit monitoring
         and identity theft protection services, imposition of withdrawal and purchase limits on
         compromised accounts, and the inconvenience, nuisance and annoyance of dealing with
         all such issues resulting from the Data Breach.

         42.    While Plaintiffs and Class Members' PII has been stolen, Wawa continues to

hold Plaintiffs and Class Members' PII on their payment servers. Since Wawa has demonstrated

an inability to prevent a breach or stop it from continuing even after being detected, Plaintiff and

Class Members have an undeniable interest in ensuring that their PII is secure, remains secure, is

properly and promptly destroyed, and is not subject to further theft.

         43.    In response to the Data Breach, Wawa has "arranged with Experian to provide

potentially impacted customers with one year of identity theft protection and credit monitoring at

no charge." 6 As previously alleged, Plaintiffs and Class Members' PII may exist on the dark

web for months, or even years, before it is purchased and used by hackers. With only one year of

monitoring, and no form of insurance or other protection, Plaintiff and Class Members remain

unprotected from the real and long-term threats against their PII. Therefore, the "monitoring"

services are inadequate, and Plaintiff and Class Members have a real and cognizable interest in

obtaining equitable relief, in addition to the monetary reliefrequested herein.




6
 See https://www.wawa.com/alerts/data-security. However, credit reporting agencies such as
Experian are themselves not immune to data breach mtrusions. In September 2017, Equifax
announced a data breach that exposed the personal information of 147 million people. See
https://www.ftc.gov/enforcement/cases-proceedings/refunds/equifax-data-breach-settlement.
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                             CLASS ACTION ALLEGATIONS
       44.     Plaintiff, Nicholas Rapak, brings this action pursuant to Federal Rule of Civil

Procedure 23 on behalf of himself and all others similarly situated, as representative of the

following Class:

       All persons residing in the United States who provided PII to Defendant and
       whose PII was accessed, compromised, or stolen as a result of the Data Breach
       disclosed by Defendant on December 19, 2019.
       45.     The aforementioned Class is referred to herein as the "Class."

       46.     Excluded from the Class are affiliates, predecessors, successors, officers,

directors, agents, servants, or employees of Defendant, and the immediate family members of

such persons. Also excluded are any trial judge who may preside over this action and their law

clerks, court personnel and their family members, and any juror assigned to this action.

       47.     Plaintiff reserves the right to amend the Class definition if discovery and/or

further investigation reveal that it should be modified.

       48.     The members of the Class are so numerous that the joinder of all members of

the Class in single action is impractical. While the exact number of Class Members is

unknown to Plaintiff at this time, Wawa has acknowledged that its customers' PII was

compromised for over nine months. Therefore, it stands to reason that the number of Class

Members is likely in the millions. The Class Members are readily identifiable from

information and records in Defendant's possession, custody, or control, such as transaction

records and purchases.

       49.     There are common questions of law and fact to the Class Members, which

predominate over any questions affecting only individual Class Members. These common

questions oflaw and fact include, without limitation:

   a. Whether Defendant owed a duty to Plaintiff and Class Members to safeguard and

                                                 11
        protect the security of their PII;

   b. Whether Defendant failed to use reasonable care and commercially reasonable
      methods to secure and safeguard Plaintiffs and Class Members' PII;

   c. Whether Defendant properly implemented its purported security measures to protect
      Plaintiffs and Class Members' PII from unauthorized capture, dissemination and
      misuse;

         50.    Plaintiffs claims are typical of those of other Class   ~embers   because

Plaintiffs PII, like that of every other Class Member, was misused, improperly disclosed by

Defendant.

         51.    Plaintiff will fairly and adequately represent and protect the interests of the

Class. Plaintiff has retained competent counsel experienced in litigation of complex class

actions, including consumer class actions. Plaintiff intends to prosecute this action vigorously.

Plaintiffs claims are typical of the claims of all of the other Class Members, and Plaintiff has

the same non-conflicting interests as the other Class   ~embers.    Therefore, the interests of the

Class   ~embers   will be fairly and adequately represented by Plaintiff and his counsel.

         52.    A class action is superior to other available methods for the fair and efficient

adjudication of this controversy. The adjudication of this controversy through a class action

will avoid the possibility of inconsistent and potentially conflicting adjudications of the

asserted claims. There will be no difficulty in managing this action as a class action, and the

disposition of the claims of the Class Members in a single action will provide substantial

benefits to all parties and to the Court. Damages for any individual Class Member are likely

insufficient to justify the cost of individual litigation so that, in the absence of class treatment,

Defendant's violations oflaw inflicting damages in the aggregate would go un-remedied.

         53.    Class certification is appropriate under FED. R. CIV. P. 23(a) and (b)(2) because

Defendant has acted or refused to act on grounds generally applicable to the Class, such that

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final injunctive or corresponding declaratory relief is appropriate to the Class as a whole.

                                    CLAIMS FOR RELIEF

                                           COlINTI
                                          (Negligence)

       54.     Plaintiff repeats, realleges, and incorporates by reference the allegations

contained in each and every paragraph above, as though fully stated herein.

       55.     Wawa owed a duty to Plaintiff and Class Members to exercise reasonable care

in safeguarding and protecting their PII in its possession from being compromised, lost,

stolen, misused, and or/disclosed to unauthorized parties.

       56.     This duty included, among other things, designing, maintaining, and testing

Wawa's security systems to ensure that Plaintiffs and Class Members' PII was adequately

secured and protected. Wawa further had a duty to implement processes that would detect a

breach of their security system in a timely manner.

       57.     Wawa also had a duty to timely disclose to Plaintiff and Class Members that

their PII had been or was reasonably believed to have been compromised. Timely disclosure

was appropriate so that, among other things, Plaintiff and Class Members could take

appropriate measures to cancel or change their debit or credit cards, to begin monitoring their

accounts for unauthorized access, to contact the credit bureaus to request freezes or place

alerts, and take all other appropriate precautions.

       58.     Wawa breached is duty to exercise reasonable care in safeguarding and

protecting Plaintiffs and Class Members' PII by failing to adopt, implement, and maintain

adequate security measures to safeguard that information; allowing unauthorized access to

Plaintiffs and Class Members' PII stored by Wawa, and failing to recognize in a timely

manner the breach.

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       59.     Wawa breached its duty to timely disclose that Plaintiffs and Class Members'

PII had been, or was reasonably believed to have been, stolen or compromised.

       60.      Wawa's failure to comply with industry regulations and the delay between the

date of intrusion and the date Wawa informed customers of the Data Breach further evidence

Wawa's negligence in failing to exercise reasonable care in safeguarding and protecting

Plaintiffs and Class Members' PII.

       61.     But for Wawa's wrongful and negligent breach of its duties owed to Plaintiff

and Class Members, their PII would not have been compromised, stolen, and viewed by

unauthorized persons.

       62.     The injury and harm suffered by Plaintiff and Class Members was the

reasonably foreseeable result of Wawa's failure to exercise reasonable care in safeguarding

and protecting Plaintiffs and Class Members' PII. Wawa knew or should have known that

their systems and technologies for processing and securing Plaintiffs and Class Members' PII

had security vulnerabilities susceptible to Malware.

       63.     As a result ofWawa's negligence, Plaintiff and Class Members incurred

damages including, but not limited to, out-of-pocket expenses incurred to mitigate the

increased risk of identity theft and/or fraud; credit, debit, and financial monitonng to prevent

and/or mitigate theft, identity theft, and/or fraud incurred or likely to occur as a result of

Wawa's security failures; the value of their time and resources spent mitigating the identity

theft and/or fraud; the cost of and time spent replacing credit cards and debit cards and

reconfiguring automatic payment programs with other merchants related to the compromised

cards; and irrecoverable financial losses due to unauthorized charges on the credit and debit

cards ofWawa's customers by identity thieves who wrongfully gained access to the PII of



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Plaintiff and Class Members.

                                            COUNT II
                                       (Negligence Per Se)
        64.    Plaintiff repeats, realleges, and incorporates by reference the allegations

contained in each and every paragraph above, as though fully stated herein.

        65.    Section 5 of the FTC Act, 15 U.S.C. § 45, prohibits "unfair ... practices in or

affecting commerce" including, as interpreted and enforced by the Federal Trade Commission

("FTC"), the unfair act or practice by companies such as Wawa's failing to use reasonable

measures to protect PII. Various FTC publications and orders also form the basis ofWawa's

duty.

        66.    Wawa violated Section 5 of the FTC Act by failing to use reasonable measures

to protect Plaintiffs and Class Members' PII and not complying with industry standards.

Wawa's conduct was particularly unreasonable given the nature and amount of PII it obtained

and stored and the foreseeable consequences of a data breach at one of the mid-Atlantic's

largest convenience store and gas station chains.

        67.    Wawa's violation of Section 5 of the FTC Act constitutes negligence per se.

        68.    Plaintiff and Class Members are consumers within the class of persons Section

5 of the FTC Act was intended to protect.

        69.    Moreover, the harm that has occurred is the type of harm the FTC Act (and

similar state statutes) was intended to guard against. Indeed, the FTC has pursued over fifty

enforcement actions against businesses which, as a result of their failure to employ reasonable

data security measures and avoid unfair and deceptive practices, caused the same harm

suffered by Plaintiff and the Class.

        70.    As a direct and proximate result of Wawa's negligence, Plaintiff and Class


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Members have been injured as described herein, and are entitled to damages, including

compensatory, punitive, and nominal damages, in an amount to be proven at trial.

                                         COUNT III
                                 (Breach of Implied Contract)

       71.     Plaintiff repeats, realleges, and incorporates by reference the allegations

contained in each and every paragraph above, as though fully stated herein.

       72.     When Plaintiff and Class Members paid money and provided their PII to Wawa

in exchange for goods and services, they entered into implied contracts with Wawa pursuant

to which Wawa agreed to safeguard and protect such information and to timely and accurately

notify them iftheir data had been breached and compromised.

       73.     Wawa solicited and invited prospective consumers such as Plaintiff and Class

YI embers to provide their PII as part of its regular business practices by using their credit

and/or debit cards. Plaintiff and Class Members accepted Wawa's offers and provided their

PII to Wawa.

       74.     In entering into such implied contracts, Plaintiff and Class Members assumed

that Wawa's data security practices and policies were reasonable and consistent with industry

standards, and that Wawa would use part of the funds received from Plaintiff and Class

Ylembers to pay for adequate and reasonable data security practices.

       75.     Plaintiff and Class Members would not have entrusted their PII to Wawa in the

absence of the implied contract between them and Wawa to keep the information secure.

       76.     Plaintiff and Class Members fully performed their obligations under the

implied contracts with Wawa.

       77.     Wawa breached their implied contracts with Plaintiff and Class Members by

failing to safeguard and protect their PII and by failing to provide timely and accurate notice

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that their PII was compromised as a result of the Data Breach.

       78.     As a direct and proximate result of Wawa's breaches of their implied contracts,

Plaintiff and Class Members sustained actual losses and damages, including, but not limited

to, out-of-pocket expenses incurred to mitigate the increased risk of identity theft and/or fraud;

credit, debit, and financial monitoring to prevent and/or mitigate theft, identity theft, and/or

fraud incurred or likely to occur as a result of Wawa's security failures; the value of their time

and resources spent mitigatmg the identity theft and/or fraud; the cost of and time spent

replacing credit cards and debit cards and reconfiguring automatic payment programs with

other merchants related to the compromised cards; and irrecoverable financial losses due to

unauthorized charges on the credit and debit cards of Wawa's customers by identity thieves

who wrongfully gained access to the PII of Plaintiff and Class Members.

                                     COUNT IV
 (For Violation of Pennsylvania's Unfair Trade Practices and Consumer Protection Law)
                                73 P.S. § 201-1 et seq.)

       79.     Plaintiff repeats, realleges, and incorporates by reference the allegations

contained in each and every paragraph above, as though fully stated herein.

        80.    As a consumer of Wawa's services, Plaintiff is authorized to bring a private

action under Pennsylvania's Unfair Trade Practices and Consumer Protection Law

("UTPCPL"). 73 P.S. § 201-9.2.

        81.    Plaintiff is a "person" within the meaning of 73 P.S. § 201-2(2).

        82.    Plaintiff and Class Members provided their PII to Wawa pursuant to

transactions in "trade" and "commerce" as meant by 73 P.S. §201-2(3), for personal, family,

and/or household purposes.

        83.    The UTPCPL prohibits "unfair or deceptive acts or practices in the conduct of


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any trade or commerce[.]" 73 P.S. § 201-3.

         84.     This Count is brought for Wawa's unfair and deceptive conduct, including

Wawa's unlawful and unfair and deceptive acts and practices, which "creat[ ed] a likelihood of

confusion or of misunderstanding" for Plaintiff and Class :vlembers as meant by 73 P.S. §

201-2(4)(xxi).

         85.     Wawa engaged in unlawful, unfair, and deceptive acts and practices with

respect to the sale and advertisement of the goods purchased by Plaintiff and the Class in

violation of 73 P.S. § 201-3, including but not limited to the following:

   a. Wawa failed to enact adequate privacy and security measures to protect Plaintiffs and
      Class Members' PII from unauthorized disclosure, release, data breaches, Malware, and
      theft, which was a direct and proximate cause of the Data Breach;

   b. Wawa negligently represented that it would maintain adequate data privacy and security
      practices and procedures to safeguard Plaintiffs and Class Members' PII from
      unauthorized disclosure, release, data breaches, Malware and theft was unfair and
      deceptive given the inadequacy of its privacy and security protections; and

   c. Wawa's negligence in failing to disclose the material fact of the inadequacy of its privacy
      and security protections for Plaintiff and Class Members was unfair and deceptive.

         86.     The above unfair and deceptive acts and practices by Wawa were immoral,

unethical, oppressive, and unscrupulous. These acts caused substantial injury to consumers that

the consumers could not reasonably avoid. This substantial injury outweighed any benefits to

consumers or to competition.

         87.     Wawa knew or should have known that their computer systems and data security

practices were inadequate to safeguard Plaintiffs Class :vi embers' PII and that risk of a data

breach or theft was highly likely. Wawa's actions in engaging in the above-named deceptive acts

and practices were negligent, knowing and reckless with respect to the rights of members of the

Class.



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                88.      Plaintiff and Class Members relied on Wawa's unfair and deceptive acts and

         practices when they paid money in exchange for goods and services and provided their PII

         through Wawa's in-store payment terminals and fuel dispensers.

                89.      Plaintiff and Class '.\1embers relied on Wawa to safeguard and protect their PII

         and to timely and accurately notify them if their data had been breached and compromised.

                90.      Plaintiff and Class Members seek all available relief under the UTPCPL, 73 P.S. §

         201-1 et seq.

                                             PRAYER FOR RELIEF

                WHEREFORE, Plaintiff, Nicholas Rapak, individually and on behalf of the Class,

         respectfully requests that the Court:

         A. Certify the Class pursuant to the provisions of Rule 23 of the Federal Rules of Civil
            Procedure and order that notice be provided to all Class '.\1embers;

         B. Designate Plaintiff as representative of the Class and the undersigned counsel, LO WEY
            DA~ENBERG, P.C. as Class Counsel;


         C. Award Plaintiff and the Class compensatory damages in an amount to be determined by
            the Court and treble and punitive damages to punish Defendant's egregious conduct as
            described herein, and to deter Defendant and others from engaging in similar conduct;

         D. Award Plaintiff and the Class injunctive relief, as permitted by law or equity, including
            enjoining Defendant from continuing the unlawful practices set forth herein, ordering
            Defendant to fully disclose the extent and nature of the security breach and theft, and
            ordering Defendant to pay for not less than three years of identity theft and credit card
            monitoring services for Plaintiff and the Class;

         E. Award Plaintiff and the Class statutory interest and penalties;

         F. A ward Plaintiff and the Class their costs, prejudgment and post judgment interest, and
            attorneys' fees; and

         G. Grant such other relief that the Court may deem just and proper.




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                                             DEMA~D       FOR JURY TRIAL

                     Plaintiff hereby demands a trial by jury as to all issues stated herein, and all issues so

          triable.



          Dated: December 20, 2019
                 West Conshohocken, PA

                     Respectfully submitted,

           By: ---=---~,c--+--
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                               Attorneys for Plaintiff Nicholas Rapak and the Proposed Class




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